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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 1:18-cv-25474-RAR

   MUSIC SPECIALIST, INC., a Florida
   Corporation, and
   SHERMAN NEALY, an Individual,
         Plaintiffs,

   v.

   ATLANTIC RECORDING CORP., a Delaware
   Corporation, WARNER/CHAPPELL
   MUSIC, INC., a Delaware Corporation,
   ARTIST PUBLISHING GROUP, L.L.C., a
   Delaware Limited Liability Company
         Defendants.
   ______________________________________/

        REPORT AND RECOMMENDATION1 ON PARTIES’ CROSS-MOTIONS FOR
          SUMMARY JUDGMENT AND DEFENDANTS’ MOTIONS TO STRIKE

          THIS CAUSE came before the Court on: (1) Defendants Atlantic Recording Corporation

   (“Atlantic”), Warner Chappell Music, Inc. (“Warner”) and Artist Publishing Group, LLC’s

   (“Artist”) (collectively, “Defendants”) Motion for Summary Judgement, ECF No. [166]; (2)

   Plaintiffs Music Specialist, Inc. (“MSI”) and Sherman Nealy’s (“Nealy”) (collectively,

   “Plaintiffs”) Motion for Partial Summary Judgment and Memorandum of Law, ECF No. [175];

   (3) Defendants’ Motion to Strike Plaintiffs’ Response to Defendants’ Statement of Material Facts,

   ECF No. [185]; and (4) Defendants’ Motion to Strike the Affidavits of William Stevens




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     On October 27, 2020, United States District Judge Rodolfo Ruiz referred Plaintiffs’ Motion for
   Partial Summary Judgement, ECF No. [165], and Defendants’ Motion for Summary Judgement to
   the undersigned. ECF No. [169]. On December 9, 2020, the case was referred to the undersigned
   “for rulings on all pre-trial, non-dispositive matters and for issuance of a Report and
   Recommendation on any dispositive matters.” ECF No. [196].


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   (“Stevens”), ECF No. [185-7], George Knox (“Knox”), ECF No. [185-1], and Garfield Baker

   (“Baker”), ECF No. [176-12].

          As to the Motions for Summary Judgment, both parties filed Statements of Undisputed

   Material Facts in Support of their respective Motions for Summary Judgment. ECF Nos. [167],

   [176]. Defendants filed a Response to Plaintiffs’ Motion for Partial Summary Judgment, ECF No.

   [182], and a Response to Plaintiffs’ Statement of Material Facts, ECF No. [183]. Plaintiffs also

   filed their Opposition to Defendants’ Motion for Summary Judgment, ECF No. [184], and a

   Statement of Material Facts in Opposition including several additional facts (the “Additional

   Facts”). ECF No. [185]. Both parties filed a Reply. ECF Nos. [190], [191]. Defendants then

   filed their Response to Plaintiffs’ Additional Facts. ECF No. [192].

          Defendants also filed two motions to strike. The first is a Motion to Strike Plaintiffs’

   Response to Defendants’ Statement of Material Facts. ECF No. [193]. Plaintiffs filed their

   Opposition, ECF No. [199], and Defendants filed a Reply. ECF No. [203]. The second is a Motion

   to Strike the Affidavits of William Stevens (“Stevens Affidavit”), George Knox (“Knox

   Affidavit”) and Garfield Baker (“Baker Affidavit”). ECF No. [194].         Plaintiffs filed their

   Opposition, ECF No. [200], and Defendants filed a Reply. ECF No. [204].

          For the reasons set forth below, it is hereby:

          ORDERED that Defendants’ Motions to Strike Plaintiffs’ Response to Defendants’
          Statement of Material Facts, ECF No. [193], be DENIED;

          ORDERED that Defendants’ Motions to Strike the following Affidavits of Stevens, Knox
          and Baker, ECF No. [194], be GRANTED;

          RECOMMENDED that Defendant’s Motion for Summary Judgment, ECF No. [166], be
          GRANTED IN PART AND DENIED IN PART; and

          RECOMMENDED that Plaintiff’s Motion for Partial Summary Judgment, ECF No.
          [175], be DENIED.



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   I.     BACKGROUND AND THE INSTANT MOTIONS

          This case concerns copyright infringement of eight musical works: (1) “Fix It in the Mix,”

   (2) “Freestyle Express,” (3) “When I Hear Music,” (4) “Computer Language,” (5) “I Know You

   Love Me,” (6) “Jam the Box,” (7) “Lookout Weekend,” and (8) “The Party Has Begun”

   (collectively, the “Subject Musical Works”). ECF No. [176] ¶ 7. Plaintiffs Nealy and MSI allege

   that they own the Subject Musical Works as evidenced from the copyright registrations that list

   them as the owners. See ECF No [176-10]. They allege that the Subject Musical Works were

   recorded over thirty-five years ago at the MSI Studio and that “as each song was written, the author

   of said composition executed a songwriter agreement pertaining to the compositions, which

   assigned the copyrights in the compositions controlled by them as songwriters” to MSI and Music

   Specialist Publishing (“MSP”). Id. ¶¶ 3, 6–10.

          Defendants counter that they have licenses from Tony Butler (“Butler”), the author of the

   Subject Musical Works, for the use of the works. In February 2008, Atlantic obtained a license

   from Butler and his company, 321 Music, LLC (“321 Music”), to use portions of “Jam the Box”

   as an interpolation in the musical composition “In the Ayer” embodying the performance of the

   recording artist publicly known as Flo Rida. ECF No. [167] ¶ 38. On July 25, 2008, Artist and

   Warner entered into an agreement with Butler and 321 Music, whereby Artist and Warner became

   the exclusive administrators of the music publishing rights for the Subject Musical Works and

   were transferred the rights to “grant licenses and collect royalties on behalf of th[e] writers and

   publishers shares” in the Subject Musical Works. ECF No. [176] ¶ 27.

          On December 28, 2018, Plaintiffs filed their initial Complaint. ECF No. [1]. Plaintiffs

   were permitted to amend that Complaint three times. ECF Nos. [42], [63], [74], [145]. In their

   Third Amended Complaint, the operative pleading at hand, Plaintiffs alleged damages from



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   copyright infringement and sought injunctive relief and damages. ECF No. [74] at 3. Specifically,

   they allege copyright infringement against Atlantic (Count I); copyright infringement against

   Artist and Warner (Count II); and contributory copyright infringement against Warner and Artist

   (Count III). Id. ¶¶ 95–134.

           Defendants filed their Motion for Summary Judgment on October 26, 2020 alleging three

   independent grounds for dismissal. ECF No. [166] at 2. First, Defendants state that Plaintiffs

   cannot prove that they own the Subject Musical Works. Id. Although Plaintiffs rely on the

   presumption of validity that attached to their copyright registrations, Defendants argue that the

   presumption is rebuttable and that there is ample evidence to rebut that presumption. Id. at 12–28.

   Defendants argue that Plaintiffs have been unable to produce a single document that evidences that

   the author(s) of the Subject Musical Works assigned the rights to the Subject Musical Works to

   Plaintiffs.   Instead, Defendants argue that Plaintiffs present “contradictory and incoherent”

   testimony “that not only fails to establish ownership of any copyright, but affirmatively disproves

   it.” Id. at 12. Second, Defendants state that Butler is, at minimum, a co-owner of the songs and

   had the right to use or license them to Defendants. Id. at 28–29. Finally, Defendants state that

   Plaintiffs’ claims are nevertheless barred by the Copyright Act’s three-year statute of limitations,

   17 U.S.C. § 507(b), because Plaintiffs knew (or should have known) that the copyright ownership

   rights were being violated well before the three years prior to filing this suit. Id. at 30–49.

           Plaintiffs countered that Defendants fail to rebut the presumption of validity of their

   copyright registrations, which constitute prima facie evidence of their ownership and of the

   information provided on the face of the copyright registration certificates. ECF No. [184] at 18.

   Thus, it is not necessary to produce any written agreements evidencing any transfer of ownership

   to Plaintiffs of the Subject Musical Works. Id. at 22–30. As to the argument that their claims are



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   untimely, Plaintiffs argue that Plaintiff Nealy “did not become aware of the Defendants’

   infringements, and under his circumstances, could not have become aware of the Defendants’

   infringements, until January 2016” which is within the three-years statute of limitations,

   considering he filed suit on December 28, 2018. ECF Nos. [1]; [184] at 36.

          Plaintiffs also filed a Motion for Partial Summary Judgment arguing that summary

   judgment should be entered in their favor as they are the owners of the copyrights to the Subject

   Musical Works and there is no dispute that Defendants are using, and thereby infringing, on their

   rights. Specifically, they argue that the copyright registrations of the Subject Musical Works are

   evidence of their ownership and because they have never transferred their ownership to Butler or

   any third party, the rights to the works continue to exclusively reside with them. ECF No. [175]

   at 8. Further, Plaintiffs argue that 17 U.S.C. § 507(b) does not bar their recovery for damages

   incurred more than three years prior to the filing of this lawsuit as they were unaware of that the

   Defendants were infringing their works and that their lack of knowledge was reasonable under the

   circumstances. Id. at 13.

   II.    MOTIONS TO STRIKE

          Before considering the Motions for Summary Judgement, the undersigned must first

   consider the Motions to Strike filed by Defendants—the Motion to Strike Plaintiffs’ Response to

   Defendants’ Statement of Material Fact, ECF No. [193], and the Motion to Strike Plaintiffs’

   Affidavits of Stevens, Knox and Baker, ECF No. [194]—as the undersigned’s disposition of these

   two motions bears on the Motions for Summary Judgment.

          A. The Motion to Strike Plaintiffs’ Response To Defendants’ Statement Of Material
             Facts Is DENIED.

          Defendants filed a Motion to Strike Plaintiffs’ Response to Defendants’ Statement of

   Material Fact, ECF No. [185], for failure to comply with Southern District of Florida Local Rule

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   56.1. ECF No. [193]. Pursuant to Local Rule 56.1, “[a] motion for summary judgment and the

   opposition to it shall each be accompanied by a separate and contemporaneously filed and served

   Statement of Material Facts.” Local Rule 56.1(a)(1). “An opponent’s Statement of Material Facts

   shall clearly challenge any purported material fact” that is “genuinely in dispute.” Local Rule 56.1

   (a)(2). In the opponent’s Statement of Material Facts, the opponent “shall use, as the very first

   word in each paragraph-by-paragraph response, the word ‘disputed’ or ‘undisputed’” and for any

   disputed facts, “the evidentiary citations supporting the opponent’s position must be limited to

   evidence specific to that particular dispute.” Local Rule 56.1 (2)(B)–(C).

          Here, Defendants argue that thirty-two out of eighty-eight of Plaintiffs’ responses to

   Defendants’ Statement of Material Facts did not adhere to the form specified by the Local Rule.

   ECF No. [193] ¶ 3. Specifically, these responses state that the fact is “undisputed,” but go on to

   “add argument, additional purported facts, citations of record evidence and legal authorities, all

   said to be ‘for the sake of context.’” Id. Defendants argue that this is a failure to comply with

   Local Rule 56.1 as it “defeat[s] the rule’s purposes of imparting clarity and simplifying the Court’s

   review” and “[m]oreover, there is no procedure for Defendants to respond to Plaintiffs’ violation

   of the Rule in appending additional argument and evidence to facts Plaintiffs concede are

   undisputed.” Id. ¶¶ 4–5.

          Plaintiffs state that they have complied with the Local Rule 56.1 because, while there might

   not be a provision in the Local Rule for a party to include citations of evidence when the facts are

   undisputed, Plaintiffs argue that the Local Rule does not expressly disallow it. ECF No. [199] at

   4. Also, Plaintiffs counter that they are not defeating the Rule’s purpose of imparting clarity and

   simplifying the Court’s review; instead their responses are “wholly necessary for this Court to

   make a meaningful determination” as to whether such facts are in dispute. Id. Plaintiffs cite to



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   Silverstein v. Boehringer Ingelheim Pharms., 2020 WL 6110909 (S.D. Fla. Oct. 7, 2020), to

   support their position that the Court should consider these clarifying facts. In Silverstein, both

   parties submitted in their responses to the statement of undisputed facts additional facts that clarify,

   limit, or contextualize the other side’s proposed facts. 2020 WL 6110909, at *5. The Court in

   Silverstein stated that “[d]espite the parties’ non-compliance with Local Rule 56.1, to the extent

   the additional facts are material and supported by evidence in the record, I consider them.” Id.

           The Court finds that the undisputed facts do contain argument and characterizations which

   would have been better addressed in the “Additional Facts” section. Local Rule 56.1(b)(3) allows

   parties to respond to the “Additional Facts” section of the opposition to the statement of material

   facts, but not to the responses to the statement of material facts.               Alternatively, these

   characterizations should have been limited to Plaintiffs’ Opposition to Defendants’ Motion for

   Summary Judgment, where they may also be found in the instant case. See ECF No. [184].

   However, the Court has broad discretion in the case of non-compliance, and despite the violation

   of the Local Rule, the Court was able to review the matter and consider those additional facts that

   are material and supported by evidence of record. See Local Rule 56.1(d); Silverstein, 2020 WL

   6110909, at *5. As such, the Defendants’ Motion to Strike Plaintiffs’ Responses to Defendants’

   Statement of Material Facts, ECF No. [193], is DENIED.

           B. The Motion To Strike The Stevens Affidavits, The Knox Affidavit And The
              Baker Affidavit, ECF No. [194], Is GRANTED.

           Defendants filed a Motion to Strike the Stevens Affidavit, ECF No. [185-7], the Knox

   Affidavit, ECF No. [185-1], and the Baker Affidavit, ECF No. [176-12]. ECF No. [194].

   Defendants argue that “none of these witnesses was previously identified as having knowledge of

   the matters stated in their [a]ffidavits, and [] Stevens was not identified at all” in either Plaintiffs’




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   Initial Disclosures from March 15, 2019 or the Amended Initial Disclosures dated March 10, 2020

   Id. at 1.

           Pursuant to Federal Rule of Civil Procedure 26(a)(1)(A), parties must provide in their

   initial disclosures “the name . . . of each individual likely to have discoverable information—along

   with the subjects of that information—that the disclosing party may use to support its claims or

   defenses.” If a party “learns that in some material respect the disclosure or response is incomplete

   or incorrect,” then they have an ongoing duty under Federal Rule of Civil Procedure 26(e)(1)(A)

   to supplement their initial disclosures.

           Under Federal Rule of Civil Procedure 37(c)(1), “[i]f a party fails to provide information

   or identify a witness as required by Federal Rule of Civil Procedure 26(a) or (e), the party is not

   allowed to use that information or witness to supply evidence on a motion, at a hearing, or at a

   trial, unless the failure was substantially justified or is harmless.” Cooley v. Great S. Wood

   Preserving, 138 F. App'x 149, 161 (11th Cir. 2005) (affirming the District Court’s striking of

   affidavits submitted in opposition to summary judgment when the deadline for discovery had

   passed and affiants were not listed on the Plaintiffs’ initial disclosures and there was no attempt to

   supplement the disclosures); Lawver v. Hillcrest Hospice, Inc., 300 F. App’x 768, 770 (11th Cir.

   2008) (because the plaintiff failed to amend her discovery disclosures to identify her witness, the

   magistrate judge did not abuse his discretion in striking her witness’s affidavit). The Federal Rules

   of Civil Procedure also prohibit proffering a previously disclosed witness to testify on a subject

   matter that was not previously disclosed. Rigby v. Philip Morris USA Inc., 717 F. App’x 834, 835

   (11th Cir. 2017) (failure to include a description of the witness’s discoverable information was not

   excusable); Zuniga v. Jacobs, No. 18-22303, 2020 WL 168106 (S.D. Fla. Jan. 13, 2020) (striking




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   an affidavit submitted in opposition to summary judgment where the witness had been previously

   identified but his knowledge on a newly asserted defense was not identified.

          “The burden of establishing that a failure to disclose was substantially justified or harmless

   rests on the non-disclosing party.” Mitchell v. Ford Motor Co., 318 F. App'x 821, 824 (11th Cir.

   2009) (citation omitted). In making this determination, courts are to consider “the non-disclosing

   party’s explanation for its failure to disclose, the importance of the information, and any prejudice

   to the opposing party if the information had been admitted.” Lips v. City of Hollywood, 350 F.

   App’x 328, 340 (11th Cir. 2009) (citing Romero v. Drummond Co., 552 F.3d 1303, 1321 (11th

   Cir. 2008)). “Prejudice generally occurs when late disclosure deprives the opposing party of a

   meaningful opportunity to perform discovery and depositions related to the documents or

   witnesses in question.”    Bowe v. Pub. Storage, 106 F. Supp. 3d 1252, 1260 (S.D. Fla. 2015)

   (quoting Berryman–Dages v. City of Gainesville Fla., No. 1:10cv177–MP–GRJ, 2012 WL

   1130074, at *2 (N.D. Fla. Apr. 4, 2012)).

                          1. The Stevens Affidavit

          The Stevens Affidavit, executed on November 15, 2020, avers that he worked as an

   attorney for MSI, at the behest of Nealy, from approximately 1983 to 1986. ECF No. [185-7] at

   1. Stevens explains that he “was personally responsible for preparing the recording artist contracts

   and producer contracts that were signed by the recording artists and producers” at MSI. Id. He

   states that Butler “was an engineer, producer, and songwriter for MSI, and as such, executed a

   recording artist and producer contract with MSI.” Id. Stevens also claims that he was personally

   responsible for completing the copyright registrations for “Party Has Begun,” “Lookout

   Weekend,” “Freestyle Express,” and “When I Hear Music.” Id. Importantly, Stevens also states

   that “[t]he representations on the face of the copyright registration certificates accurately reflect



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   the fact that Butler assigned his rights in all of the songs authored by him to MSI and [MSP] (the

   publishing arm of MSI) as work(s) for hire pursuant to the recording artist and producer

   agreements [Stevens] prepared and [Butler] executed.” Id.

          Defendants argue that the Stevens Affidavit should be stricken pursuant Federal Rule of

   Civil Procedure 37. ECF No. [194] at 5. Specifically, Stevens was never disclosed at all in

   Plaintiffs in Plaintiffs’ Rule 26(a) disclosures. Indeed, the first time Defendants had any notice

   that Stevens had any relevant information regarding the matter was when the Stevens Affidavit

   was submitted in Opposition to Defendants’ Motion for Summary Judgment. Id. Moreover,

   Defendants argue that the Stevens Affidavit purports to contradict sworn testimony Plaintiffs have

   given during discovery” that goes to the heart of the matter—the validity of the copyright

   registrations for the songs at issue.” Id. at 2. Defendants point to Nealy’s deposition where he

   testified that Jonathan Black had prepared all MSI’s copyright registrations and that Black was

   responsible for prepared the transfer agreements for MSI. Id. at 2–3 (citing ECF No. [176-15] at

   33, 41–42, 44, 66, 77). Later, when Black contradicted Nealy’s statements by testifying that he

   did not prepare the copyright registrations for six of the musical works in question, no mention

   was made of Stevens. ECF No. [176-5] at 13–20. Although Blacks’ testimony was on June 25,

   2020, the first time that Stevens was mentioned by Plaintiffs was November 16, 2020 when his

   affidavit was filed with the Opposition. Indeed, given that the discovery cutoff was August 31,

   2020, Plaintiffs had two months after the Black testimony to have located and identified Stevens

   and chose not to do so. Given that, Defendants argue that this late disclosure is not substantially

   justified nor is it harmless as they were not afforded any opportunity to depose Stevens or

   otherwise prepare for this new evidence.




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          In response, Plaintiffs explain that they “had no contact with Stevens whatsoever, had no

   idea as to the extent of Stevens’ relevant knowledge, and had no intention of using Stevens or any

   of his testimony to support Plaintiffs’ claims or defenses” as of the time that Plaintiffs provided

   their Initial Disclosures and Amended Initial Disclosures. ECF No. [200] at 4. Plaintiff state that

   they “fully intended to rely on the testimony of Black as it pertained to the songwriter agreements”

   and on the presumption of ownership based on the copyright registration certificates. Id. at 5.

   However, they initiated an additional investigation after reading Defendants’ Motion for Summary

   Judgment filed on October 26, 2020. Id. They also state that any failure to comply with Federal

   Rule of Civil Procedure 26(a) or (e) was substantially justified or harmless because Stevens’ name

   appears on the copyright registration certificates as the individual to whom correspondence

   regarding the application should be sent for “Lookout Weekend,” “Freestyle Express,” “Party Has

   Begun,” and “When I Hear Music.” Id. at 6. Defendants could have, they contend, but never did

   ask any questions about Stevens’ role during the discovery stage. Id. Even though Defendants

   have concerns because they were unable to depose Stevens, Plaintiffs state that they are in a similar

   position because they only recently spoke to him and he lives outside of the United States. Id.

          The Court finds that the failure to disclose Stevens is neither substantially justified nor

   harmless. At least as of Black’s deposition, Plaintiffs knew that they did not have a witness who

   could testify as to the how they came into possession of the works from the authors of the Subject

   Musical Works. Discovery at that point was still open. Plaintiffs admittedly did nothing in the

   face of Blacks’ testimony and instead decided to rest their arguments on the copyright registrations

   alone. Indeed, they concede they did not even consider Stevens until after they read Defendant’s

   summary judgment arguments admitting that they were not willing to “stand-pat” and they

   “initiated additional investigation.” ECF No. [200] at 5. Plaintiffs never advised Defendants that



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   they had located Stevens, they never amended their Initial Disclosures, and they never sought leave

   of Court to re-open the discovery period. Instead, they submitted a cursory and conclusory

   affidavit on a key issue as part of their Opposition. Their conduct is not substantially justified;

   indeed, it cannot be justified at all. If this is not the scenario that the Federal Rules of Civil

   Procedure were meant to proscribe it is hard to imagine what would be.

          Moreover, the failure to disclose Stevens is not harmless as Defendants had no ability to

   depose or otherwise test this “new evidence.” Henriquez v. Total Bike, LLC, 13-20417-CIV, 2013

   WL 6834656, at *6 (S.D. Fla. Dec. 23, 2013) (“[C]ourts have consistently held that the affidavit

   of a witness cannot be used to support or oppose summary judgment where the other party did not

   have the ability to depose the witness.”); Lawver, 300 Fed. Appx. at 770 (striking an affidavit

   submitted in opposition to summary judgment when the moving party did not have an opportunity

   to depose the witness based on non-movants failure to disclose.). The Court cannot permit

   Plaintiffs to “‘glean an unfair advantage over [Defendants] by relying on [a] witness to whom

   [Defendants] did not have access during discovery.’” State Farm Mut. Auto. Ins. Co. v. Health &

   Wellness Servs., Inc., 446 F. Supp. 3d 1032, 1042 (S.D. Fla. 2020), reconsideration denied, No.

   18-23125-CIV, 2020 WL 4586399 (S.D. Fla. Aug. 10, 2020) (citing Inmuno Vital, Inc. v.

   Telemundo Group, Inc., 203 F.R.D. 561, 566 (S.D. Fla. 2001)).

          Plaintiffs’ passing reference that they would not oppose a deposition out of time is hardly

   an answer given that the parties have already filed summary judgment and the matter is set for

   trial. Rather than amending their initial disclosures or seeking to extend discovery, which would

   have provided Defendants with an opportunity to seek discovery from Stevens, Plaintiffs took the

   most egregious road available, they simply surprised Defendants with this Affidavit. Because their

   admitted failure to comply with the Federal Rules of Civil Procedure is neither substantially



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   justified or harmless, the Stevens Affidavit is STRICKEN and Defendants’ Motion to Strike the

   Affidavit of Stevens should be GRANTED.

                          2. The Knox Affidavit

          In the Knox Affidavit, executed on November 13, 2020, Knox states that he performed

   “some legal services” on behalf of MSI, and at the direction of Nealy, from 1985 until the time of

   its administrative dissolution. ECF No. [185-1]. He stated that based on his recollection it was

   Stevens who “prepared the copyright applications for most of the songs which were created by

   MSI’s recording artists prior to Jonathan Black joining MSI.” Id. Knox also said that he believed

   Stevens “prepared agreements that were signed by the recording artist who were engaged by MSI,

   and which contained provisions regarding the rights and responsibilities of the parties.” Id.

          Defendants argue that the Affidavit should be stricken because Knox was only identified

   in the Initial Disclosures as having subject matter knowledge as to “Nealy’s capacity and

   ownership interest in [MSI], and composition of [MSI]’s Board of Directors.” ECF No. [194] at

   6; see ECF Nos. [194-1] at 3, [194-2] at 3. Defendants argue that the subject matter of the Knox

   Affidavit falls well outside of that scope, as the Affidavit relates instead to the preparation of

   agreements with recording artists engaged by MSI. ECF No. [194] at 6.

          Plaintiffs counter that, unlike the case of Stevens, Knox was mentioned numerous times

   during the depositions of Plaintiff Nealy, Black, and Baker, when they testified regarding the

   execution of transfer agreements executed by MSI. ECF No. [200] at 7. As such, Defendants

   were on notice of Knox’s expanded subject matter knowledge. Id. Because Defendants had notice,

   they argue, the Affidavit should not be stricken.

          As an initial matter, it is clear that Knox was not disclosed as having any information on

   the subject matter he now addresses in the Affidavit. That failure to disclose the subject matter is



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   grounds to strike the Affidavit unless Plaintiffs’ failure can be substantially justified or is harmless.

   Here, the undersigned cannot find that their failure is substantially justified. Plaintiffs proffer no

   reason as to why the Initial Disclosures failed to present Knox as an individual who had

   information regarding the assignments. However, the Knox Affidavit purports to bolster the

   Stevens Affidavit by stating that Stevens prepared the agreements that were signed by the

   recording artists who were engaged by MSI . . . .” ECF No. [185-1]. It appears to the Court that,

   as with Stevens, this is a line of evidence that Plaintiffs’ simply chose not to consider. Offering

   no justification for their failure to follow the Federal Rules of Civil Procedure, it appears instead

   that they simply chose not to pursue this evidence. The failure is not substantially justified and

   now the issue now is whether the failure to disclose is harmless.

           The Court finds that this failure is not harmless. Plaintiffs’ argument that Defendants were

   on notice that Knox had this information as a result of Baker’s and Black’s depositions, is

   unpersuasive. ECF No. [200] at 7. Upon closer examination, neither Baker nor Black gave

   Defendants sufficient information as to Knox’s knowledge. For example, when Baker was asked

   who presented the contract to him at MSI, he stated “Sherman Nealy, Tony Butler . . . [and] it may

   have been George Knox. I think it was George Knox.” ECF No. [176-4] at 5–6. When Black was

   asked who did the copyright registrations prior to him joining MSI, Black stated “No. I couldn’t

   say for certain who it was. It could have been [done] by Mr. Knox or Pat Johnson or could have

   been any number of people.” ECF No. [176-5] at 21. Neither of these statements provide sufficient

   notice to Defendants that Knox would have knowledge of the transfer agreements underlying

   copyright registrations given that Plaintiffs did not disclose that he had any such information in

   their Initial Disclosures, nor did they amend those Disclosures after those depositions. Indeed, the

   point of Initial Disclosures, at least in part, is precisely to avoid chasing down every comment



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   made in a deposition or piece of paper. A party should be able to rely that counsel has investigated

   his or her own case and made disclosures that are fair and complete. Indeed, here, Defendants had

   a right to assume that counsel had spoken to Knox either when the Initial Disclosures were first

   made or after these depositions and concluded that he had nothing to add because the Initial

   Disclosures in fact were not amended. The fact that Defendants knew who Knox was or that others

   mentioned him as potentially having information is of no moment when they were not given the

   correct information as to what he knew. In short, it was Plaintiff who bore the responsibility to

   inquire of Knox at least no later than those depositions, if in fact those deposition can be taken for

   what Plaintiffs suggest and confirm whether that information was correct and amend their

   Disclosures. When they did not do so, Defendants were well within their rights not to seek a

   deposition of Knox on that point. Therefore, Plaintiffs’ last-minute affidavit is prejudicial because

   Defendants have had no opportunity to explore the basis for Knox’s testimony, and as such, their

   failure to properly disclose Knox is not harmless. See Rigby, 717 F. App’x at 835 (striking of an

   affidavit where a party failed to describe the subject of the witness's knowledge under Fed. R. Civ.

   P. 26(a)(1)(A)(i)); Pete’s Towing Co. v. City of Tampa, Fla., 378 F. App’x 917, 919–20 (11th Cir.

   2010) ( Eleventh Circuit upheld District Court Judge’s order striking portions of a witness affidavit

   because it “included allegations that had not been previously disclosed to Defendants in response

   to discovery requests.”). The Defendants’ Motion to Strike the Affidavit of Knox is GRANTED.

                          3.   Baker Affidavit

          Finally, Plaintiffs submitted the Baker Affidavit which addresses practices and procedures

   before the Copyright Office. Although Baker was disclosed in the Federal Rule of Civil Procedure

   26 Initial Disclosures he was listed as having information on “Nealy’s capacity and ownership

   interest in [MSI], and [MSI]’s Board of Directors,” “status of copyright issues,” “fraudulent



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   activity of Tony Butler,” and the “knowledge of Defendants’ understanding of issues presented,

   and information concerning deliverables and accounts receivable to MSI.” ECF Nos. [176-12];

   [194-1] at 2; [194-2] at 2. However, the Baker Affidavit is a summary of what Baker alleges he

   discussed with a Ms. Veronica Patten, a Supervisory Copyright Specialist, working in the Records,

   Research and Certification Section of the United States Copyright Office. ECF No. [176-12].

           Defendants argue that the Baker Affidavit should be struck. ECF No. [194] at 7. Although

   he was listed on Plaintiffs’ Initial Disclosures, this Affidavit is offered for matters outside the scope

   of his subject matter knowledge. Id. Defendants also argue that the Baker Affidavit is “pure

   hearsay consisting entirely of Baker’s one-sided account of a conversation(s) he claims he had

   with the Copyright Office.” ECF No. [194] at 7. In their Response, Plaintiffs state they do not

   oppose the striking of the Affidavit. ECF No. [200] at 3 n.2.

           In addition to the fact that Plaintiffs are not opposed to striking the Affidavit, the Court

   finds that there is nothing on the record that would support a finding that the failure to properly

   disclose Baker’s area of knowledge is either substantially justified or harmless. Plaintiffs proffer

   no reason for their failure to disclose this area of knowledge, and given the close of discovery, the

   failure to disclose is not harmless. Finally, as Plaintiffs argue, the substance of the Affidavit is

   hearsay and lacks proper foundation. Thus, the Defendants’ Motion to Strike the Affidavit of

   Baker is GRANTED.




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   III.   SUMMARY OF UNDISPUTED FACTS2

          Plaintiff Nealy is the owner, president, and shareholder of MSI, a Florida corporation

   incorporated in 1983. ECF Nos. [167] ¶¶ 2, 3; [176] ¶ 2. Nealy was also the President and sole

   owner/shareholder of In the Mix, Inc. (“In the Mix”), a Florida corporation which was

   administratively dissolved in 1984. ECF No. [176] ¶ 2. Nealy formed MSI because he wanted to

   enter the music business and identify artists and others who could help launch a record company.

   ECF No. [167] ¶ 7. Although at the time of MSI’s incorporation, Tony Buter (“Butler”) was listed

   as the President of MSI, MSI’s Articles of Incorporation were later amended to list Nealy as

   President and Butler as Vice President of MSI. Id. ¶ 4. Nealy was the “money man” funding the

   operations of MSI, and Butler was a disc jockey and more knowledgeable than Nealy about the

   music business. ¶¶ 6, 8. MSI was dissolved in November of 1986 and reinstated as an active

   corporation on or about January 19, 2017. ECF No. [176] ¶ 14. From 1983 to 1986, MSI recorded

   and released one album and a number of singles on vinyl and cassette. ECF No. [167] ¶ 12.

          Those singles released by MSI included the eight works that are at issue in this case: (1)

   “Fix It in the Mix” by Pretty Tony (Butler); (2) “Freestyle Express” by Freestyle; (3) “When I

   Hear Music” by Debbie Deb; (4) “Computer Language” by Pretty Tony (Butler); (5) “I Know You

   Love Me” by Trinere; (6) “Jam the Box” by Pretty Tony (Butler); (7) “Lookout Weekend” by

   Debbie Deb; and (8) “The Party Has Begun” by Freestyle. ECF No. [176] ¶ 7. Each work was

   registered with the United States Copyright Office. The copyright registration for each reflects as




   2
     The undisputed facts are taken from Defendants’ Statement of Material Facts, ECF No. [167],
   Plaintiffs’ Statement of Material Facts, ECF No. [176], Defendants’ Response to Plaintiffs’
   Statement of Material Facts, ECF No. [183], Plaintiffs’ Statement of Material Facts in Opposition
   including the Additional Facts, ECF No. [185], and Response to Plaintiffs’ Additional Facts, ECF
   No. [192].


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   follows. For “Fix It in the Mix,” MSI is listed as the claimant3 and author4 and the copyright

   registration notes that the work was created for hire. ECF No. [167-16] at 5–8. For “Freestyle

   Express,” In The Mix Inc. is listed the claimant and the author as the employer for hire of Calvin

   Mills, Moses Talbot, and Tony Butler. Id. at 12–14. The copyright registration also states it was

   transferred to claimants as “work made [for] hire.” Id. at 14. For “When I Hear Music,” the

   registration lists MSP5 as the claimant, states that the author is “Music Specialist Publishing

   employer for hire of Tony Butler,” and indicates that the work was created for hire. Id. at 2–4.

   For “Computer Language,” the registration lists “Happy Stepchild Music Publ. Corporation &

   Music Specialist Publ.” as the claimants, states that Tony Butler is the author, and indicates that

   the work was not made for hire. Id. at 9–11. For both “I Know You Love Me” and “Jam the Box”

   the copyright registrations state that the claimant is MSP, the author is Tony Butler, and the work

   was not for hire. Id. at 15–20. The copyright registrations for both “Lookout Weekend” and “The

   Party Has Begun” indicate that MSI is the claimant, Tony Butler is the author, and that the work

   was made for hire. Id. at 21–26. For both of those songs, the copyright registrations also state that

   the works were transferred to claimant by assignment. Id. at 23, 26.




   3
     A copyright claimant is either: “(i) the author of a work; or (ii) a person or organization that has
   obtained ownership of all rights under the copyright initially belonging to the author. 37 C.F.R. §
   202.3(a)(3). The latter category “includes a person or organization that has obtained, from the
   author or from an entity that has obtained ownership of all rights under the copyright initially
   belonging to the author, the contractual right to claim legal title to the copyright in an application
   for copyright registration.” Id. at n.1.
   4
    The copyright website, registration form, and label also indicate that “Pretty Tony,” or Tony
   Butler, was artist or performer of the work. ECF No. [167-16] at 5–8.
   5
     Plaintiffs state that MSI has always been affiliated with MSP, a d/b/a of MSI, which was created
   to administer the publishing rights to compositions owned by MSI. ECF No. [176] ¶ 3. Defendants
   dispute this fact arguing that “no evidence has been produced to support this statement or that MSI
   owns any musical compositions.” ECF No. [183] ¶ 3.
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          In approximately March of 1989, the business of MSI came to a complete stop when Nealy

   was incarcerated for distributing cocaine. ECF No. [167] ¶ 18. Nealy’s incarceration lasted from

   March 1989 to March 2008. Id. ¶19. Nealy was then incarcerated a second time, again for

   distribution of cocaine, from February 2012 to September 2015. Id. During Nealy’s first

   incarceration, no one was authorized by Nealy to sell the MSI catalog and MSI had no contracts

   with third parties to publish or distribute any of the music in the MSI catalog. Id. ¶ 20. Nealy was

   also the president and sole owner and shareholder of In the Mix, Inc. (“In the Mix”), a Florida

   corporation which was administratively dissolved in 1984. ECF No. [176] ¶ 2.

          In 2007, Butler formed a company named 321 Music, LLC. ECF No. [176] ¶ 24. In

   February 2008, Atlantic obtained a license from Butler and 321, to use portions of the musical

   composition “Jam the Box” as an interpolation in the musical composition “In the Ayer”

   embodying the performance of the recording artist publicly known as Flo Rida. ECF No. [167] ¶

   38. Atlantic used DMG Clearances, Inc., a reputable copyright clearing house, to obtain the

   license, and DMG negotiated the license with an attorney representing Butler, 321, and MSI. Id.

          Upon his release from prison in March of 2008, Nealy was informed that a third party,

   Robert “Bo” Crane (“Crane”), was distributing the MSI catalog. Id. ¶ 22. Through MSI’s

   consultant, Jonathan Black (“Black”), a meeting was arranged with Crane on June 9, 2008. Id. ¶

   23. It was a ten-minute meeting. ECF No. [176] ¶ 19. Nealy remembered “talking to them

   concerning whatever they [were] doing with any music that Music Specialist owned” and “letting

   them know that I was home and they had my music.” ECF No. 167 ¶ 23 (citing ECF No. [176-

   15] at 20–21). At his deposition, Nealy was asked if he knew Pandisc was distributing his songs

   and music. ECF No. [176-15] at 21. He responded, “I heard they had possession and they were

   utilizing it.” Id. Nealy was also asked at his deposition whether he ever provided Crane or his



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   lawyers “any proof that either [he] or [MSI] were the owners of the songs and records [Pandisc]

   was distributing.” Id. Nealy stated that he never provided anything because “[he] was just coming

   home [after his first incarceration] and [he] didn’t know what was going on.” Id. at 21–22. Finally,

   Nealy was asked what if anything he did from that 2009 meeting with Crane up until Nealy’s

   second incarceration in 2012. Id. at 22. Nealy responded, “I wasn’t in no position to do anything”

   and that “[he] didn’t know what to do.” Id.

          On July 25, 2008, Artist and Warner entered into an agreement with Butler and 321

   whereby Artist and Warner purportedly became the exclusive administrators of the music

   publishing rights for the Subject Musical Works, and were transferred the rights to “grant licenses

   and collect royalties on behalf of th[e] writers and publishers shares” in the Subject Musical Works.

   ECF No. [176] ¶ 27. In addition to the Subject Musical Works, Artist and Warner purportedly

   became the exclusive administrators of the music publishing rights and were transferred the rights

   to license musical works, such as “In the Ayer,” “Weekends” (a derivative work of “Lookout

   Weekend”) and “Another Weekend” (a derivative work of “Lookout Weekend”) by Black Eyed

   Peas, and “Fuego” (a derivative work of “When I Hear Music”) by Pitbull. Id.

          In 2009, Pandisc and Whooping Crane instituted a copyright infringement action in the

   Southern District of Florida regarding the Subject Musical Works against Atlantic, Artist, Warner,

   Butler, and 321. ECF No. [176] ¶ 29; see ECF No. [167-5]. Therein, Pandisc and Whooping

   Crane alleged that from 1989 to 1992, Butler’s companies – Captain Productions, Inc. and CTan

   Music –transferred ownership rights in various musical works claimed by Plaintiffs. ECF No.

   [167] ¶ 25; see ECF No. [167-5] at 5–7. Neither MSI nor Nealy was notified of or joined as a

   party to this case. ECF No. [167] ¶ 25. This case was settled by a Mediated Settlement Agreement

   that was subsequently amended. Id. Shortly after, Pandisc and Whooping Crane brought another



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   lawsuit in the Eleventh Judicial Circuit in and for Miami Dade County, Florida against Butler and

   321 based on fraudulent claims made in the Settlement Agreement and its amendment. Id. ¶ 30.

   Neither MSI nor Nealy was ever notified of or joined as a party to this case either. Id. In 2015,

   the Settlement Agreement and the amendment were adjudicated fraud ab initio and unenforceable

   by the Honorable Judge John Thornton, and the parties were placed back into their positions relative

   to the ownership of the subject musical works. Id.

          In approximately January of 2016, shortly after Nealy was released from prison for the

   second time, Baker reached out to Nealy to determine whether MSI or Nealy had ever transferred

   any of the copyrights in the Subject Musical Works “to Butler or to anybody.” ECF No. [176-4]

   at 47. When Nealy informed him that they had not, Baker then informed Nealy of Butler’s

   purported transfers of the copyrights in the Subject Musical Works to the Defendants and the

   ongoing litigations and conflicting claims regarding ownership of the Subject Musical Works. Id.

   This action was commenced thereafter on December 28, 2018. ECF No. [1].

   IV.    SUMMARY JUDGMENT STANDARD

          Summary judgment is appropriate where there is “no genuine issue as to any material fact

   [such] that the moving party is entitled to judgment as a matter of law.” Celotex Corp. v. Catrett,

   477 U.S. 317, 322 (1986); see also Fed R. Civ. P. 56. A genuine issue of material fact exists when

   “a reasonable jury could return a verdict for the non-moving party.” Anderson v. Liberty Lobby,

   Inc., 477 U.S. 242, 249 (1986). “For factual issues to be considered genuine, they must have a

   real basis in the record.” Mann v. Taser Int’l, Inc., 588 F.3d 1291, 1303 (11th Cir. 2009) (citation

   omitted). Speculation or conjecture cannot create a genuine issue of material fact sufficient to

   defeat a well-supported motion for summary judgment. Cordoba v. Dillard’s, Inc., 419 F.3d 1169,

   1181 (11th Cir. 2005).



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          The moving party has the initial burden of showing the absence of a genuine issue as to

   any material fact. Clark v. Coats & Clark, Inc., 929 F.2d 604, 608 (11th Cir. 1991). In assessing

   whether the moving party has met this burden, the court must view the movant’s evidence and all

   factual inferences arising from it in the light most favorable to the non-moving party. Denney v.

   City of Albany, 247 F.3d 1172, 1181 (11th Cir. 2001). Once the moving party satisfies its initial

   burden, the burden shifts to the non-moving party to come forward with evidence showing a

   genuine issue of material fact that precludes summary judgment. Bailey v. Allgas, Inc., 284 F.3d

   1237, 1243 (11th Cir. 2002); see also Fed. R. Civ. P. 56(e). “If reasonable minds could differ on

   the inferences arising from undisputed facts, then a court should deny summary judgment.”

   Miranda v. B & B Cash Grocery Store, Inc., 975 F.2d 1518, 1534 (11th Cir. 1992). But if the

   record, taken as a whole, cannot lead a rational trier of fact to find for the non-moving party, there

   is no genuine issue for trial, and summary judgment is proper. Matsushita Elec. Indus. Co. v.

   Zenith Radio Corp., 475 U.S. 574, 587 (1986).

          Plaintiffs contend that on this record the Court can find that they own the Subject Musical

   Works by virtue of executed songwriter agreements “pertaining to the compositions, which

   assigned the copyrights in the compositions controlled by them as songwriters to MSI/MSP,” and

   Defendants contend that on this record the Court can find that Plaintiffs do not own the Subject

   Musical Works as no such agreements have been produced by Plaintiffs. ECF Nos. [176] ¶ 10;

   [183] ¶ 10.




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   V.     ANALYSIS

          In order to establish copyright infringement, Plaintiffs must prove: “(1) ownership of a

   valid copyright, and (2) copying of constituent elements of the work that are original.” Latimer v.

   Roaring Toyz, Inc., 601 F.3d 1224, 1232–33 (11th Cir. 2010) (citing Feist Publ’ns, Inc. v. Rural

   Tel. Serv. Co., Inc., 499 U.S. 340, 361 (1991)); Bateman v. Mnemonics, Inc., 79 F.3d 1532, 1541

   (11th Cir. 1996). The matter at hand involves only the first prong: who owns the Subject Musical

   Works. Indeed, Defendants concede that they are using, in one way or another, the Subject Musical

   Works. This case is about ownership.

          In order to determine who owns the Subject Musical Works, there are three principles that

   are undisputed and form the basis of the analysis. First, it is well-settled and not in dispute that an

   author retains ownership over the copyright unless he or she unequivocally transfers that copyright

   to another in a signed writing. 17 U.S.C. § 204(a). This requirement is known as the Copyright

   Act’s Statute of Frauds. Tjeknavorian v. Mardirossian, 56 F. Supp. 3d 561, 565 (S.D.N.Y. 2014).

   Here, Butler is the author or co-author of the Subject Musical Works. ECF Nos. [167-16]; [167-

   22] at 5–6. Plaintiffs contend that they acquired each of the Subject Musical Works from Butler

   by written agreements, and that based on those agreements, they own and registered the Subject

   Musical Works.

          Second, a copyright registration is prima facie evidence of the validity of a copyright and

   the facts stated therein. 17 U.S.C. § 410(a-c); Code Revision Comm’n for Gen. Assembly of

   Georgia v. Public.Resource.Org, Inc., 906 F.3d 1229, 1236 (11th Cir. 2018) (as there was no

   dispute that the plaintiff, the state of Georgia, had a registered copyright, the burden of proof on

   whether the copyright was valid shifted to the defendant); Latimer, 601 F.3d at 1233 (Plaintiff

   produced a copyright registration and benefitted from the rebuttable presumption that the copyright



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   is valid). Plaintiff argues that each of the copyright registrations of the Subject Musical Works list

   it as the owner, and therefore, under 17 U.S.C. § 501(b), they own the Subject Musical Works and

   have standing to sue for infringement of same.

          Third, a “certificate of registration . . . is not conclusive on the copyright ownership issue”

   because the statutory presumption is “rebuttable,” and to “rebut the presumption of validity, an

   infringement defendant must simply offer some evidence or proof to dispute or deny the plaintiff’s

   prima facie case of infringement.” Progressive Lighting, Inc. v. Lowe’s Home Ctrs., Inc., 549 Fed.

   Appx. 913 (11th Cir. 2013); see also Estate of Burne Hogarth v. Edgar Rice Burroughs, Inc., 342

   F.3d 149 (2d Cir. 2003) (registration “creates no irrebuttable presumption of copyright validity”

   but merely “orders the burdens of proof” so that “where other evidence in the record casts doubt

   on the question, validity will not be assumed”). Defendants make several arguments challenging

   the copyright registrations and argue that the burden has shifted back to Plaintiffs and that Plaintiffs

   have failed to show that they own the Subject Musical Works. Before discussing whether

   Defendants have shifted the burden of proof back to Plaintiffs, the Court begins by reviewing the

   copyright registrations for each of the subject works in order to determine, as an initial matter,

   whether Plaintiffs have a prima facie case that they own the Subject Musical Works.

          A. Plaintiffs Can Only Bring Suit As To Four Of The Subject Musical Works.

          Three of the copyright registration certificates list Plaintiff MSI as the claimant—“The

   Party Has Begun,” “Lookout Weekend,” and “Fix it in the Mix.” ECF No. [167-16] at 5–7, 21–

   26. Plaintiffs argue that upon administrative dissolution of MSI, the ownership interest in the

   Subject Musical Works held by virtue of the copyright registration certificates was transferred by

   operation of law to Nealy, who was the sole shareholder. ECF No. [175] at 12. However, MSI

   was reinstated as a Florida corporation in 2018. ECF No. [176] ¶ 14 n.6. Upon the reinstatement



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   of a corporation, following administrative dissolution, “the reinstatement relates back as if the

   dissolution never occurred.” Allstate Ins. Co. v. Levesque, 2010 U.S. Dist. LEXIS 147353, at *9

   (M.D. Fla. Nov. 9, 2010) (citing Fla. Stat. § 607.1422(3)). Defendants argue that reinstatement

   fully and retroactively restores a corporation as if it was never dissolved, and therefore, Nealy has

   no basis for claiming that he has an interest the Subject Musical Works as the interest belongs to

   MSI. ECF No. [182] at 10–11. The Court agrees and finds that the copyright registrations show

   that MSI is the claimant, MSI has been reinstated and so the interest in these three musical works

   belongs with MSI. Accordingly, the copyright registrations are prima facie evidence that Plaintiff

   MSI (not Nealy) owns these three works.

          For “Freestyle Express,” the copyright registration lists the claimant as In the Mix,

   Incorporated (“In the Mix”). ECF No. [167-16] at 12–14. It is undisputed that Nealy was the

   president, sole owner and shareholder of In the Mix, a Florida corporation which was

   administratively dissolved in 1984. ECF No. [176] ¶ 2. Upon the dissolution of In the Mix, Inc.,

   Plaintiffs make the argument that the asset of the copyright, belonging to In the Mix, Inc., passed

   to Nealy by operation of law. ECF No. [175] at 11-12; see Wilmington Sav. Fund Soc’y v. Good

   Samaritan Fund, Inc., Civil Action No. 2:15-cv-00211-WCO-JCF, 2017 U.S. Dist. LEXIS

   222970, at *20–21. The undersigned agrees.

          Prior to the 1989 amendments to the Corporations Chapter of the Florida Statutes, Section

   607.301 of the Florida Statutes provided that “[t]he directors of the corporation at the time of its

   dissolution shall thereafter be and constitute a board of trustees for any property owned or acquired

   by the dissolved corporation.” See Gould v. Brick, 358 F.2d 437, 439 (5th Cir.1966) (“[I]n Florida

   the statutory trustees take title to corporate property upon the dissolution of the corporation, and

   are charged with the fiduciary duties imposed upon them by the statutes, with the right to sue and



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   subject to being sued, Trueman Fertilizer Co. v. Allison, Fla., 81 So.2d 734.”). Therefore, at the

   time of the administrative dissolution, the assets of In the Mix, Inc. transferred to Nealy by

   operation of law. As such, the Court finds that the copyright registration is prima facie evidence

   that Nealy owns this work. See 17 U.S.C. § 410(c) (stating that “the certificate of registration . . .

   shall constitute prima facie evidence of the validity of the copyright and the facts stated in the

   certificate.”).

           For the remaining four musical works—“Jam the Box,” “I Know You Love Me,”

   “Computer Language,” and “When I Hear Music”—the claimants listed on the copyright

   registration certificates are neither MSI nor Nealy. Indeed, the claimants listed are entities for

   which there is no evidence in this record to support a finding that Plaintiffs have an ownership

   interest. ECF No. [167-16] at 2–4, 9–11, 15–20. Specifically, for “Jam the Box,” “I Know You

   Love Me,” and “When I Hear Music,” the claimant is listed as MSP. ECF No. [167-16] at 2–4,

   15–20. The copyright claimant for “Computer Language” is “Happy Stepchild Music Publ. Corp”

   and MSP. ECF No. [167-16] at 9–11.

           As Defendants point out, Plaintiffs have only “vaguely plead” that MSP is affiliated with

   MSI. ECF No. [165] at 19–20. Indeed, although Plaintiffs state that MSI has always been

   affiliated with MSP, as MSP was created to administer the publishing rights to compositions

   owned by MSI, ECF No. [176] ¶ 3, there is nothing in the record that supports that allegation.

           Plaintiffs, in response, only point to the record label imprints for two songs. ECF No. [184]

   at 18–19. Specifically, for “Computer Language” and “When I Hear Music,” the label imprints

   on the record state that the songs were “recorded at MSI Studios.” ECF No. [176-9] at 4, 6.

   However, that neither shows that MSP is affiliated with MSI or Nealy, nor does is it suffice to




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   prove that MSI or Nealy have any standing to sue on MSP’s behalf. Given that, there is nothing

   in the record to support a finding that either Plaintiff has standing to sue on behalf of MSP.

          Likewise, for Happy Stepchild Music Publ. Corp., listed as a co-claimant along with MSP

   for the song “Computer Language,” there is no evidence in the record that either MSI or Nealy

   have any authority to bring suit on its behalf. As such, the Court RECOMMENDS that

   Defendants’ Motion for Summary Judgment be GRANTED as to “Jam the Box,” “I Know You

   Love Me,” “Computer Language,” and “When I Hear Music.” On this record there is no evidence

   that Plaintiffs own these works. Therefore, they have no standing to bring an infringement action

   as to these songs.

          The Court now considers whether summary judgment can be entered on the issue of

   ownership as to “The Party Has Begun,” “Lookout Weekend,” “Fix it in the Mix,.” and Freestyle

   Express” (the “Remaining Subject Musical Works”).

          B. Defendants Have Rebutted The Presumption of Ownership Afforded to the
             Copyright Registration Certificates.

          It is undisputed that Plaintiffs were not the authors of these Remaining Subject Musical

   Works. Therefore, and as discussed above, ownership of the Remaining Subject Musical Works

   could only have been transferred to them by a written document. Plaintiffs contend that although

   they no longer have copies of those assignments or contracts, the copyright registrations

   themselves note that they are the claimants (by way of written assignment or because the works

   were “for hire”) and therefore they are the owners of the Remaining Subject Musical Works for

   purposes of asserting this infringement claim. Plaintiffs contend that these copyright registration

   certificates are prima facie evidence of their ownership. They are correct, at least as to the

   Remaining Subject Musical Works, that the copyright registration certificates show them as

   claimants and serve as prima facie evidence that they own the works. However, the inquiry does

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   not end there, as the certificates are not definitive proof but simply set the presumption with them

   in the first instance.

           Indeed, as previously noted, to “rebut the presumption of validity [of a registration] an

   infringement defendant must simply offer some evidence or proof to dispute or deny the plaintiff’s

   prima facie case of infringement.” Progressive Lighting, 549 Fed. Appx. at 919 (the Eleventh

   Circuit held that the defendants “rebutted the presumption of validity by offering evidence

   showing, inter alia, that the works whose copyrightability is at issue were useful articles that did

   not contain separable copyrightable elements”); Dellacasa, LLC v. John Moriarty & Assoc. of Fla.,

   Inc., 2008 WL 299024, at *14–15 (S.D. Fla. 2008) (defendants rebutted the presumption of validity

   of the copyright that plaintiff was the owner of registered shop drawings by pointing to the

   language in the underlying general contract purportedly transferring ownership and the actual

   actions of the parties); see also Estate of Burne Hogarth v. Edgar Rice Burroughs, Inc., 342 F.3d

   149 (2d Cir. 2003) (although the “Hogarths contend that the registrations for the [subject works] .

   . . created a presumption that Burne Hogarth was the author” as stated on the early registrations,

   defendant overcame the presumption with evidence, including an agreement from 1970, that

   Hogarth created work for hire). Specifically, a copyright registration’s presumption of validity

   can be rebutted: (1) when the copyright challenger provides evidence that the copyright registration

   holder did not timely register the copyright, 17 U.S.C. § 410(c); (2) when the copyright challenger

   provides evidence that the copyright registration holder is not the author of the work and has not

   been transferred the work by way of written assignment, Arthur Rutenberg Homes, Inc. v. Berger,

   910 F. Supp. 603, 605 (M.D. Fla. 1995); (3) when the copyright challenger provides evidence that

   fraud has been committed on the copyright office, see Robbins v. Artits--Usher, No. CV411-193,

   2011 WL 5840257, at *3 n.4 (S.D. Ga. Aug. 29, 2011); and (4) when the copyright challenger



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   provides evidence that the copyright registration holder has already transferred the copyrights,

   Roberts v. Gordy, 359 F. Supp. 3d 1231, 1239–40 (S.D. Fla. 2019). Defendants argue that they

   have presented evidence challenging that the validity of the copyright registrations, specifically,

   challenging that they were transferred by way of written agreement to Plaintiffs, and as such,

   Plaintiffs now bear the burden of proof that they are the owners, a burden that they argue Plaintiffs

   cannot meet.

          With the testimony of Butler conspicuously absent from the record, Defendants make

   several arguments and point to several different pieces of documentary and third-party evidence

   to argue that the presumption has shifted back to Plaintiffs to show that they own the Remaining

   Subject Musical Works. ECF No. [166] at 19–26. Defendants argue that there are competing

   copyright registrations for some of the works at issue and that various claims of ownership were

   made in prior litigation between other parties as to these musical works. Id. at 20. For example,

   they point to evidence that from 1989 to 1992, two companies wholly owned by Butler, Captain

   Productions, Inc. and C-Tan Music, transferred rights in various works claimed by Plaintiffs,

   including many of the works at issue in this case, to Pandisc and Whooping Crane. Id. at 21; see

   ECF No. [167-5]. They also point to the fact that Baker, the Plaintiffs’ own 30(b)(6) deposition

   witness, signed an agreement in another case that acknowledged that Butler was the sole author

   and co-owner with Whooping Crane of six of the musical works in this litigation. ECF No. [166]

   at 21; see ECF No. [167-19]. Defendants point out that Butler has claimed to represent MSI in the

   past, casting doubt on whether Plaintiffs even control MSI as they say. ECF No. [166] at 21. They

   also review the history of prior suits among different parties where different statements as to the

   ownership of the songs were made. Id.




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          The undersigned finds these reasons unpersuasive because they all, at their core, relate to

   Butler assigning rights that, under Plaintiffs’ theory, he had already assigned to them either by

   agreement or because he was an employee for hire for MSI. Allowing this evidence to rebut the

   presumption would render the presumption afforded copyright registrations meaningless because

   the nefarious actions of someone fraudulently selling rights could strip the proper owner of the

   presumption afforded by the registration itself.

          However, Defendants’ argument that the statements of some of Plaintiffs’ witnesses,

   including Nealy, are sufficient to shift the presumption of validity is well taken, especially in the

   absence of any of the written agreements between Plaintiffs and the author of the songs, Butler.

   See ECF No. [166] at 21–26. The undersigned finds that the testimony of Black, a consultant for

   MSI who was hired to setup MSI’s publishing, including preparing copyright registrations, is more

   than sufficient to shift the burden back to Plaintiffs to prove that they own the Remaining Subject

   Musical Works. See ECF No. [176-5] at 6–7. Nealy testified in his deposition that Black would

   have prepared the agreements with the songwriters:

          Q: Are you aware of any written agreement between Music Specialist Inc. and
          Freestyle?

          A: Jonathan Black was handling agreements like that.

          Q: So if there were any agreements, Jonathan Black would know about them.

          A: Yes, he would know about them.

   ECF No. [176-15] at 33. During his deposition, however, Black stated that he did not prepare or

   personally sign the copyright registrations and did not prepare any corresponding agreement for

   Butler by which Butler assigned any of his rights. ECF Nos. [166] at 25–26; [167-3] at 4–8, 10–

   12, 16–17. Specifically, during his deposition Black was shown the copyright registration for “Fix

   It In The Mix.” ECF No. [176-5] at 14. Counsel pointed out that the copyright registration lists

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   Music Specialist Inc.’s address in New York. Black stated that he did not prepare that copyright

   registration because he would not have completed any registration where MSI’s address was listed

   in New York. Id. Black was shown the copyright registration for “Freestyle Express.” ECF No.

   [167-3] at 7–8. He testified that “Freestyle Express was released prior to [his] coming to Music

   Specialist” and affirmed that he did not prepare that copyright registration. Id. at 8. Black was

   also asked about the song “Lookout Weekend.” ECF No. [167-3] at 10. Black initially stated: “I

   don’t believe that I did Lookout Weekend” and that he thought it was done before his time. Id. at

   11. However, when he was shown the copyright registration and realized that it was a handwritten

   application, he confirmed he did not prepare that one because he “never” handwrote them. Id.

   Finally, Black was then asked about the song “The Party Has Begun.” ECF No. [167-3] at 11–12.

   He was shown the copyright registration, which was handwritten, and he responded: “not mine.”

   Id. at 12. Further, Black testified that if he did not prepare the copyright registration for a song,

   he also would not have prepared the songwriter agreement. ECF No. [167-3] at 17. Therefore,

   Black’s testimony failed to show that he prepared or had knowledge of any of the songwriter

   agreements for any of the Remaining Subject Musical Works.

          Of course, Black’s testimony directly contradicted Nealy’s deposition testimony that Black

   prepared all of the registrations in this case. ECF No. [176-15] at 77. Black’s testimony casts

   doubt on the validity of the copyright registrations because it directly disputes the basis on which

   the copyright registrations were issued, namely, that Butler assigned his rights to Nealy or MSI by

   written agreement. Defendants have rebutted the presumption and thus the burden shifts to

   Plaintiffs to prove that they are owners of the four Remaining Subject Musical Works at issue.




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           C. The Issue Of Ownership As To The Remaining Subject Musical Works Is Not
              Subject To Summary Judgment.

           The Court must now consider what other evidence Plaintiffs present to meet their burden

   that they are the owners of the Remaining Subject Musical Works. For certain, Plaintiffs still have

   the copyright registrations which evidence transfers by assignment or as work for hire. ECF No.

   [176-10] (copyright registration for “The Party Has Begun” states it was transferred by assignment;

   copyright registration for “Lookout Weekend” states it was transferred by assignment; and

   copyright registration for “Freestyle Express” states it is “work made for hire”). Although they

   are no longer prima facie evidence, the Court would be hard pressed at this juncture to conclude

   that they are not evidence at all.

           Second, Plaintiffs have the testimony of Nealy who testified that MSI had agreements with

   Butler. Although his testimony certainly lacks clarity, he testified that during the relevant time

   period there were songwriter agreements with Butler whereby Butler would have given MSI

   ownership of Butler’s songs. ECF No. [176-15] at 41. Nealy also testified with respect to “Fix It

   In The Mix,” that he was the “executive producer” who funded the records and that Butler worked

   for hire for Music Specialist as an engineer. Id. at 39. Finally, Plaintiffs offered up the testimony

   of another songwriter, Baker, who recalled having signed songwriter agreements with MSI. ECF

   No. [176-4] at 4–5.

           To be sure, the evidence proffered by Plaintiffs in support of their claim is thin. However,

   the standard the Court must use is whether there is more than “[a] mere ‘scintilla’ of evidence

   supporting the opposing party’s position.” Walker v. Darby, 911 F. 2d 1573, 1577 (11th Cir. 1990)

   (quoting Liberty Lobby, 477 U.S. at 252). Here, a jury could find Nealy’s testimony credible and

   that the copyright registrations themselves are sufficient evidence to find that Plaintiffs own the

   works. For the Court to make that determination now would necessitate that the Court make

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   credibility determinations as to Nealy’s testimony, which is a task that falls to the jury. Indeed,

   “[c]redibility determinations, the weighing of the evidence, and the drawing of legitimate

   inferences from the facts are jury functions, not those of a judge, whether he is ruling on a motion

   for summary judgment or for a directed verdict.” Liberty Lobby, 477 U.S. at 255. Given the

   existence of the copyright registrations and the testimony of Nealy, this Court cannot say that a

   rational trier of fact would be unable to find in favor of Plaintiffs or in favor of Defendants. The

   issue of ownership, as it sits here, is one for the jury and one that Plaintiff will have the burden of

   establishing.

          As to whether “The Party Has Begun,” “Lookout Weekend,” and “Freestyle Express” were

   made for hire pursuant to 17 U.S.C. § 101, the Court finds that based on the record before it and

   the arguments submitted, summary judgment would not be appropriate. Defendants state that none

   of these works are for hire because Butler did not create any within the scope of his employment,

   as Nealy testified that Butler was not a songwriter. ECF No. [166] at 26–27; see ECF No. [176-

   15] at 49. Plaintiffs counter by relying on the copyright registrations which, on their face, state

   that the work was completed for hire. ECF No. [184] at 30; see ECF No. [176-10] at 2, 8, 17.

   Furthermore, Plaintiffs argue that the works were within Butler’s scope of employment. ECF No.

   [184] at 31. Any statement by Nealy that Butler was not a songwriter was due to Nealy’s

   “misunderstanding of the term ‘songwriter.’” Id. Although Plaintiffs cannot rely on the “work for

   hire” designation on the copyright registrations alone as proof, Nealy’s testimony, if believed, in

   conjunction with the copyright registrations could be enough for the jury.

          Finally, Defendants’ argument that Butler is, at a minimum, a co-owner of the musical

   works and that this serves as a complete defense to infringement because co-owners have “an

   independent right to use or license the use of a duty,” is unpersuasive given the procedural posture



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   of the case. ECF No. [166] at 28; see Broadcast Music, Inc. v. Evie’s Tavern Ellenton, Inc., 772

   F.3d 1254, 1258 at n.2 (11th Cir. 2014). Defendants point to Plaintiffs’ interrogatory responses as

   evidence that Butler has co-ownership of some of the copyrights. ECF No. [166] at 29. Plaintiffs

   respond that for “The Party Has Begun,” “Lookout Weekend,” and “Freestyle Express,” Butler

   was not a co-owner because he worked “for hire.” ECF No. [184] at 30–32.

          Given the Court’s finding above, the Court cannot conclude that the issue can be decided

   on summary judgment. In regard to “Fix It In The Mix,” Plaintiffs state that both Butler and Nealy

   maintained a writer’s share, or beneficial ownership, of 25% that entitled them only to royalties,

   but not to legal title to the copyright. ECF No. [184] at 32–33; see Smith v. Casey, 741 F.3d 1236,

   1241 (11th Cir. 2014) (songwriter who assigns copyright ownership in exchange for royalties is

   beneficial owners of copyright).     Indeed, Plaintiffs’ Amended Interrogatories state that the

   remaining 50% of ownership was the “publisher’s share” held by MSI. See ECF No. 167-22 at

   11. Plaintiffs then argue that the royalty statements received by Nealy from his own 25% writer’s

   share of “Fix It In The Mix” are the same amount of royalties Butler would have received for his

   equal 25% writer’s share. Id. at 33; see ECF No. [167-17]. Plaintiffs state that this beneficial

   ownership, or writer’s share, is distinct from the publisher’s share held by MSI, which entitled

   it—not Nealy or Butler individually—to control the copyright. ECF No. [184] at 33–34. In the

   absence of agreements, the Court is again left with Nealy’s testimony to evaluate in order to

   determine whether Defendants claim is correct. Because doing so would require the Court to make

   credibility findings, the Court cannot grant summary judgment based on this argument.

          D. Plaintiffs’ Claim Is Not Barred, At This Stage, By The Statute Of Limitations.

          The relevant statute of limitations is set by 17 U.S.C. § 507(b) which states that “no civil

   action shall be maintained under the provisions of this title unless it is commenced within three



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   years after the acclaim accrued.” Plaintiffs sued Defendants for infringement on December 28,

   2018, and so the date for limitations purposes is December 28, 2015. Plaintiffs claim that although

   Defendants were openly exploiting their works since 2008, they only discovered that Defendants

   were infringing on their copyright within three years of December 2018. ECF No. [184] at 36–47.

   Plaintiffs also argue that the Court should adopt the “discovery rule” and consider that the instant

   claim accrued on the date that Plaintiffs knew or should have known that Defendants were

   infringing on their rights and not on the date that Defendants infringed. ECF Nos. [175] at 13–15;

   [184] at 47–50.

          Defendants argue that because the gravamen of the case sounds in ownership, as opposed

   to infringement, the statute of limitations accrues only once, when Plaintiffs knew or should have

   known their ownership rights were being violated. ECF No. [166] at 30–35. Defendants argue

   that Plaintiffs knew or should have known that their ownership was being challenged at least as

   far back as mid-2008 when Nealy met with Crane about Crane’s use of the MSI catalogue, and

   that as such, their present suit filed many years later is clearly time-barred. Id. at 35–45.

          As an initial matter, the Court needs to consider whether the case at hand is one of

   ownership or one of infringement. Specifically, if the action is one sounding in infringement, the

   claim accrues each time the infringing work is distributed, and each distribution creates a new

   wrong and gives rise to a discrete claim which start anew the limitations period. Petrella v. Metro-

   Goldwyn-Mayer, Inc., 572 U.S. 663, 671 (2014). Whether the discovery rule, using when the

   plaintiff knew or should have known of the infringement applies, has not been considered by the

   Eleventh Circuit but, as discussed below, is not at issue here. Sieger Suarez Architectural

   Partnership, Inc. v. Arquitectonic Intern. Corp., 998 F. Supp. 2d 1340, 1354–55 (S.D. Fla. 2014)

   (noting that the better practice is to use the discovery rule for infringement actions). However, if



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   the matter is one sounding in ownership, the claim only accrues once, at the time the plaintiff learns

   or should have learned that the defendant was violating his ownership rights. Webster v. Dean

   Guitars, 955 F.3d 1270, 1276–77 (11th Cir. 2020).

          Defendants heavily rely on the Eleventh Circuit’s recent opinion in Webster. There, the

   plaintiff filed its action in 2017 claiming that Dean Guitars had produced and sold replications of

   guitars containing the lightning storm graphic without the plaintiff’s consent and without payment

   of royalties for using the design. Webster, 955 F.3d at 1272. Both parties agreed that Dean Guitars

   reproduced the graphic on several guitar models without Webster’s permission, leaving ownership

   the only disputed issue in the case. Id. at 1276. The Eleventh Circuit, in affirming summary

   judgment in the defendants’ favor, agreed that the case concerned copyright ownership not

   infringement as the main argument advanced by the plaintiff was that he owned the image at issue

   and that the defendant had clearly and expressly repudiated the claim of ownership. Id. at 1276.

   The Eleventh Circuit held that because the plaintiff had reason to know his ownership rights were

   being violated in 2004 when he first learned that Dean was reproducing the subject guitar or even

   in 2007 when the owner of Dean Guitars sent an email to the plaintiff saying that another party

   was the legal owner of the lightning storm graphic, the claim started accruing then and accrued

   only once and not each time the graphic was replicated. Webster, 955 F.3d at 1276. Given those

   facts, the Circuit Court concluded that the three-year statute of limitation period had expired well

   before the plaintiff brought his copyright action in 2017 thus barring the plaintiff from any relief.

   Id. at 1277.

          The Court agrees that the case here, as was the case in Webster, is one of ownership, not

   infringement. Like Webster, there is no dispute that Defendants are infringing, the issue is whether

   Plaintiffs own the works. Like the plaintiffs in Webster, Plaintiffs’ main argument is that they own



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   the Remaining Subject Musical Works. Like the defendants in Webster, Defendants claim that

   Plaintiffs do not own the works, and that their right to use the works derives from the true owner

   of the work. The issue now turns on when Plaintiffs knew or should have known that Defendants

   were challenging their ownership to the Remaining Subject Musical Works. Given the procedural

   posture of the case, in order for Defendants to succeed on summary judgment, they must be able

   to prove, by undisputed facts and with all reasonable inferences and reasonable doubts drawn in

   favor of Nealy, that Nealy was aware of, or that a reasonable person in Nealy’s position should

   have been aware of Defendants’ infringements prior to December 28, 2015.              Habersham

   Plantation Corp. v. Molyneux, No. 10-61526-CIV-DIMITROULEAS, 2011 U.S. Dist. LEXIS

   117511, at *14–16 (S.D. Fla. Aug. 19, 2011) (denying defendants’ partial summary judgment as

   to whether three-year statute of limitations of the Copyright Act barred plaintiff’s copyright

   infringement claims because Defendant could not “demonstrate, by undisputed facts, that Plaintiff

   ‘knew or reasonably should have known’ of those acts of infringement occurring more than three

   years before the lawsuit was filed”). The Court finds that this is a burden that Defendants cannot

   meet on this record.

          The first possible notice to Nealy, according to Defendants, was the meeting Nealy had

   with Crane. ECF No. [166] at 38–41. Based on his testimony, Nealy knew that Crane and his

   companies, were using the MSI catalog as early as June 2008. At his ten-minute meeting with

   Crane in June 2008, Nealy testified that he was aware that the MSI catalog was being distributed.

   ECF No. [176-15] at 19. Nealy remembered talking to Crane “concerning whatever they was

   doing with any music that Music Specialist owned” and “letting them know that I was home and

   they had my music.” Id. at 20–21. At his deposition, Nealy was asked if he knew Pandisc was

   distributing his songs and music. Id. at 21. He responded, “I heard they had possession and they



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   were utilizing it.” Id. There is no evidence on the record, or from Nealy’s deposition, that Crane

   or Butler were challenging Nealy’s ownership of the copyrights in question. When Nealy was

   asked at his deposition whether he ever provided Crane or his lawyers “any proof that either [he]

   or [MSI] were the owners of the songs and records [Pandisc] was distributing,” Nealy stated that

   he never provided anything because “[he] was just coming home [after his first incarceration] and

   [he] didn’t know what was going on.” Id. at 21–22. Finally, Nealy was asked what if anything he

   did from that 2009 meeting up until Nealy’s second incarceration in 2012. Id. at 22. Nealy

   responded, “I wasn’t in no position to do anything” and that “[he] didn’t know what to do.” Id.

          The Court finds that the meeting with Crane does not go to the issue at hand–when

   Plaintiffs knew that Defendants were challenging his ownership rights. To be sure, Nealy might

   have a difficult time pursuing an infringement claim suit against Crane on this record. However,

   the Crane meeting would not have provided Nealy with any notice that these Defendants were

   challenging his ownership interest. Indeed, in Webster, the plaintiff had reason to know that the

   defendants were challenging his ownership interest because the defendants plainly and expressly

   repudiated the plaintiff’s ownership. 955 F.3d at 1275–77. Indeed, faced with the plaintiff’s notice

   that their guitars were infringing with his ownerships interest, the defendants’ response was not

   that they were not infringing but that the plaintiff was not the owner of the design. A finding that

   Crane’s challenge to Plaintiffs’ ownership interest, (assuming that in fact that was the gravamen

   of the meeting) bars Plaintiffs from asserting their ownership interest as to these Defendants is not

   supported by the decision in Webster.

          Defendants argue that there are other facts that show that Plaintiffs knew or had reason to

   know that Defendants were using their works. They argue that: (1) there were at least five other

   lawsuits encompassing the musical works at issue; (2) Nealy intervened in 2017 in an ongoing



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   litigation, Baker v. Warner/Chappell Music, Inc., 14-22403, 2017 WL 45772247, *4–6, n.7 (S.D.

   Fla. Oct. 12, 2017); (3) Nealy’s allegedly infringed work was widely disseminated so he should

   have known of the infringement based on its commercial success; (4) Nealy received several

   royalty checks, associated with performances of the composition “Fix It In The Mix” which should

   have put him on notice of infringement; (5) one of those royalty statements specifically identified

   Warner as the administrator of the song “Fix It In The Mix;” and (6) the failure to receive royalties

   on any of the other songs despite their widespread dissemination. ECF No. [166] at 37–45.

          Nealy responds that none of these facts indicate that Nealy knew of Defendants’ challenge

   to their ownership interest prior to December 28, 2015. ECF No. [184] at 36–47. Regarding the

   five other lawsuits encompassing the works at issue, Nealy states that these did not serve to put

   him on notice of any potential infringement because he was in jail most of the time. Id. at 41–42.

   Although MSI was included in a 2006 case, Nealy was in prison. Id. at 41. Additionally, neither

   MSI nor Nealy were notified or joined as a party to the 2009 federal case, the 2010 state case, the

   2014 federal or state cases. Id. at 42. Indeed, after learning of the litigations in January 2016, it

   was then that Nealy took action and appeared in the still ongoing 2006 state case and moved to

   intervene in the 2014 federal case. Id. at 41–42. Plaintiffs also state that even though some of the

   Remaining Subject Musical Works were widely disseminated, this does not by itself evidence

   Nealy’s knowledge of the infringement. Id. at 44. As to the BMI royalty checks associated with

   performances of the composition “Fix It In The Mix” and indicating that Warner was an

   administrator of the song, Plaintiffs explain that he “disregarded” these royalty statements. Id. at

   45. Additionally, Nealy states that he did not even receive the royalty statement, dated September

   18, 2015 showing Warner as the administrator until later, as it was sent to an old address. Id.




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   Plaintiffs also argue that the fact that he was not receiving royalties, despite the widespread

   dissemination is also insufficient on its own to put Nealy on notice of infringement. Id. at 46–47.

           Moreover, when Nealy was asked when “did [he] first become aware that Tony Butler was

   involved in licensing music to any of the [D]efendants in this case,” he responded, “probably 2015”

   but did not specify when in 2015. ECF No. [176-15] at 37. When asked how he became aware,

   he explained that “[he] went to the state court and they were speaking about the litigation, what

   was going on concerning this case in the state court. And that’s when [he] contact[ed] a couple of

   lawyers to help [him] out with this matter.” Id. Nealy explained he was “trying to find out who

   [had] the music and who [was making] the money off it, so I went after them.” Id. Nealy also

   maintains that he did not even hear the popular song “In the Ayer” which was an alleged

   interpolation of “Jam the Box,” until 2015 or 2016, when it became part of this lawsuit and was

   played to him by Byron Smith. ECF No. [176-15] at 69. Indeed, he says he does not listen to

   music anymore. Id.

           Although Defendants state that Nealy’s incarceration cannot excuse his delay, Defendants

   cite to two inapplicable cases—Paulcin v. McDonough, 259 F. App’x 211, 213 (11th Cir. 2007)

   and McComb v. Jones, No. 16-61104, 2017 WL 2380285, at *3 (S.D. Fla. May 8, 2017)—which

   deal with prisoners seeking to toll the statute of limitations on appeals of their convictions. As

   articulated in Sieger, the “statute of limitations begins to run when Plaintiff learned of or . . . should

   have learned” of the infringement; and, “should have learned” involves considering “a reasonably

   prudent person in Plaintiff’s position.” 998 F. Supp. 2d at 1354–55 (citing Warren Freedenfeld

   Assocs., Inc. v. McTigue, 531 F.3d 38, 44 (1st Cir. 2008); Stone v. Williams, 970 F.2d 1043, 1048

   (2d Cir. 1992)). As such, even if the Court were to consider that the facts are undisputed as to this

   issue, a finding that does not appear possible on this record, reasonable minds could differ on the



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   inferences arising from undisputed facts, namely whether Nealy had reason to know that

   Defendants were infringing. See Miranda, 975 F.2d at 1534.6 Moreover, in order to determine

   when Plaintiff knew or should have known that Defendants were challenging their ownership

   rights, the Court must make credibility determinations, particularly Nealy’s testimony. As such,

   summary judgment should be DENIED.

   VI.    ORDER AND RECOMMENDATION

          For the reasons noted above, the undersigned hereby:

                  ORDERS that Defendants’ Motions to Strike Plaintiffs’ Response to Defendants’
                  Statement of Material Facts, ECF No. [193], be DENIED;

                  ORDERS that Defendants’ Motions to Strike the following Affidavits of Stevens,
                  Knox and Baker, ECF No. [194], be GRANTED;

                  RECOMMENDS that Defendant’s Motion for Summary Judgment, ECF No.
                  [166], be GRANTED IN PART AND DENIED IN PART; and

                  RECOMMENDS that Plaintiff’s Motion for Partial Summary Judgment, ECF No.
                  [175], be DENIED.

   VII.   OBJECTIONS

          A party shall serve and file written objections, if any, to this Report and Recommendation

   with the United States District Court Judge for the Southern District of Florida, within

   FOURTEEN (14) DAYS of being served with a copy of this Report and Recommendation. Failure

   to timely file objections will bar a de novo determination by the District Judge of anything in this



   6
     Plaintiffs conflate the issue of when an action accrues, the discovery rule, and how far back they
   can seek damages. Although an action, sounding in ownership or infringement, accrues when a
   plaintiff knew or should have known that their rights were being infringed, their damages are
   limited to the three-year period before they filed suit even if the infringement went further back
   than the three-year period. Petrella, 572 U.S. at 672. Although this issue was reviewed by the
   undersigned when considering the scope of discovery, the undersigned made clear that the standard
   for discovery was certainly lower, broader and different than what the Court must consider now.
   Based on the parties briefing of the issue and the Court’s consideration of Petrella, the damages
   available to Plaintiffs are capped to the three-year statutory limit.
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   Recommendation and shall constitute a waiver of a party’s “right to challenge on appeal the district

   court’s order based on unobjected-to factual and legal conclusions.” 11th Cir. R. 3-1 (2016); 28

   U.S.C. § 636(b)(1)(C); see also Harrigan v. Metro-Dade Police Dep’t Station #4, 977 F.3d 1185,

   1191–92 (11th Cir. 2020).

          DONE AND SUBMITTED in Chambers at Miami, Florida, this 8th day of March, 2021.




                                                 ____________________________
                                                 JACQUELINE BECERRA
                                                 United States Magistrate Judge




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